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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Southern District of New York

    CAMILLE PANIA and RASHIYA ALNURRIDIN
                              Plaintiff
                                 V.                                               Civil Action No. 24-cv-07127-MKV
                        CRUNCH, LLC
                             Defenda111

                                             WAIVER OF THE SERVICE OF SUMMONS

To: Matthew J. Langley, Almeida Law Group, LLC
                N
             ( ame of the plaintiffs auorney or unrepresented plainrif!)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                09/25/2024             , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default jud gment will be entered against me or the entity I represent.

        10/8/2024
Date: --------
                                                                                  ----Siit:!::;J:::::;:unrepresented party
                         Crunch, LLC                                                                          Elana Somers
        Prinred name ofparty waiving service of summons                                                       Printed name


                                                                                              787 7th Ave, New York, NY I 0019
                                                                                                                 Address
                                                                                                       elana.somers@sidley.com
                                                                                                              E-mail address

                                                                                                            (212) 839-5759
                                                                                                            Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
          "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.
        1 f the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           lf you waive service, then you must, within the time specified on the waiver forn1, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than ifa summons had been served.
